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IN THE UNITED STATES DISTRICT COURT P.{. !,:D l__"_', wqri_/ `
FOR THE WESTERN DISTRICT OF TENNESSEE ` i' " '*}'("
WESTERN DIVISION
GERALD BOWEN, et al., )
)
Plaintiffs, )
)
v. ) NO. 04-2575 D/An

)
WORLDWIDE MORTGAGE CORP., )
et al., )
)
Defendants. )

 

ORDER GRANTING MOTION TO COMPEL ARBITRATION

 

Before the Court is Defendant Homecoming Financial Network’s Motion to Compel
Arbitration filed on September 13, 2004. United States District Judge Bernice B. Donald
referred this matter to the l\/Iagistrate Judge for determination For the reasons set forth below,
the Motion is GRANTED.

BACKGROUND

Plaintiffs entered into an agreement With. Defendant Worldwide Mortgage Corporation
(“Worldwide”) for the extension of a residential mortgage loan to repair and improve their home
located in Memphis, TN (the “Agreement”). As part of the Agreement, Plaintit`fs signed an
Arbitration Rider which provides, in relevant part, that:

The parties acknowledge that they had a right to litigate claims through a court

before a judge or jury, but will not have that right if either party elects arbitration

The parties hereby knowingly and voluntarily Waive their rights to litigate such

claims in a court before a judge or jury upon election of arbitration by either party.

You also acknowledge that you will not have the right to participate as a

representative, claimant or member of any class action pertaining to any claim that

is subject to arbitration, even if such class action is pending on the date of this
arbitration ride, except that this arbitration rider Will not preclude your

this document entered en tha ucci<et sheet in coitip"iance
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With Hu|e 58 and/or 79{3) FRCP on 5 940 C/ 5

 

 

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participation in a class which has already been certified by a court of competent
jurisdiction on or before the date of this Arbitration Rider.

(Mot. to Compel Arbitration, at 2). The Arbitration Rider goes on to state that the “Lender or
any assignee of Lender or [Plaintiffs] can request that any claim, dispute, or controversy, . . .
including initial claims, counter-claims, or third party claims, arising from or relating to this
Agreement or the relationships which result from this Agreement . . . be resolved . . . by binding
arbitration . . . .” (Ia'. at 3). Plaintiffs signed the Arbitration Rider directly below the names of
several potential arbitrators

On July 27, 2004 Plaintiffs filed this suit against Defendant Homecomings Financial
Network (“Homecomings”) and other Defendants (l) alleging misrepresentations of the
Agreement and discriminatory lending practice and (2) disputing certain charges charged to
them at their loan closing. Homecomings filed its Answer on August 23, 2004 and asserted its
right to binding arbitration On August 25, 2004, Homecomings’ counsel wrote to Plaintiffs’
counsel and requested that these claims be submitted to arbitration, as provided in the
Agreement. When Plaintiffs refused to arbitrate, Homecomings filed the instant motion.

Plaintiffs responded to the Motion to Compel Arbitration on October l9, 2004. Although
Plaintiffs cite no legal authority in their Response, they allege that Homecomings should not be
allowed to enforce the Agreement to arbitrate because the Agreement was entered into between
Plaintiff and Defendant Decision One Mortgage Corporation. Plaintiffs argue that Homecomings
was not an original party to the Agreement; therefore, as a nonsignatory to the Agreement,
Homecomings should not be allowed to enforce the agreement Because the Arbitration Rider
was not recorded with Plaintiffs’ Deed of Trust on the loan, Plaintiffs argue the provision is

unenforceable Plaintiffs also argue the Arbitration Rider is overly broad and is unconscionable

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because Plaintiffs have no experience in handling home loans. Finally, Plaintiffs argue that the
Arbitration Rider is unenforceable because it was not signed by any defendant

ANALYSIS

ln ruling on a motion to compel arbitration, the Court must first determine whether a
valid agreement to arbitrate exists. Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S.
395, 403-04 (1967). Once the Court determines a valid agreement exists, the Court must then
determine if the dispute falls within the scope of the agreement Javr'rch v. First Union Sec., Inc.,
315 F.3d 619, 624 (6th Cir. 2003).

I. There is a valid Agreement.

Pursuant to the Federal Arbitration Act (“FAA”), federal law applies to a written
provision in a contract “evidencing a transaction involving commerce to settle by arbitration a
controversy thereafter arising out of such contract.” 9 U.S.C. § 2 (2004). Thus, the FAA
govems any agreement to arbitrate contained in a contract relating to interstate commerce The
term interstate commerce means “commerce among the several states or with foreign nations.” 9
U.S.C. § l (2004). The Agreement in this case involves the extension of credit to a homeowner,
which implicates interstate commerce', therefore, the FAA governs the Agreernent.

Since Plaintiffs have refused to arbitrate, as required by the Agreement, Homecoming is
entitled to “petition any United States district court . . . for an order directing that such arbitration
proceed.” 9 U.S.C. § 4 (2004). Overall, courts should “rigorously enforce agreements to
arbitrate.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 221 (1985); see also Javz`tch v.
First Um’On Sec., Inc., 315 F.3d 619, 624 (6th Cir. 2003). The FAA preempts state law on the
issue of arbitrability in dealing with those contracts falling under the FAA. See Southland Corp.

v. Keating, 465 U.S. 1, 10 (1984). ln determining whether the parties agreed to arbitrate,

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however, ordinary state law principles governing contract formation apply. See First Options of
Chr`cago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995). The FAA “preserves general principles of
state contract law as rules of decision on whether the parties have entered into an agreement to
arbitrate.” Cook Chocolate Co. v. Saloman, Inc., 684 F. Supp. 1177, 1182 (S.D.N.Y. 1988).
Thus, the Court must apply Termessee law to determine if a valid, enforceable contract exists. In
Tennessee there is a presumption “in favor of the validity and regularity of a written instrument,
and the person asserting its invalidity has the burden of proving his allegations by clear and
satisfactory evidence.” fn re Acujj"v. O ’Lz`nger, 56 S.W.3d 527, 531 (Tenn. Ct. App. 2001)
(quoting Kyle v. Kyfe, 74 S.W.2d 1065, 1067 (Tenn. Ct. App. 1934)).

A. Unconscionability

An enforceable agreement in Tennessee must exhibit mutual assent and valid
consideration Prz`ce v. Mercury Supply Co., 682 S.W.2d 924, 933 (Tenn. Ct. App. 1984). A
contract that is unconscionable will not be enforced Trim'ty Indus., Inc. v. McKinnon Bridge
Co., 77 S.W.Zd 159, 180-71 (Tenn. Ct. App. 2001). Plaintiffs assert in this matter that the
arbitration provision is invalid because it is unconscionable Under Tennessee contract law, a
contract can be found to be unconscionable for one of two reasons:

Unconscionability may arise from a lack of a meaningful choice on the part of one

party (procedural unconscionability) or from contract terms that are unreasonably

harsh (substantive unconscionability). ln Tennessee we have tended to lump the

two together and speak of unconscionability resulting when the inequality of the

bargain is so manifest as to shock the judgment cfa person of common sense, and

where the terms are so oppressive that no reasonable person would make them on

one hand, and no honest and fair person would accept them on the other.

Trinity Ina'us., Inc. v. McKinnon Bridge Co., 77 S.W.3d 159, 170- 71 (Tenn. Ct. App. 2001)

(citations omitted). A contract is thus unconscionable when its terms “are beyond the reasonable

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expectations of an ordinary person or oppressive . . . .” Buraczynski v. Eyri'ng, 919 S.W.2d 314,
320 (Tenn. 1996).

ln this case, Plaintiffs argue that the Arbitration Rider is unconscionable because
“Defendants [have] extensive experience and sophistication in transactions such as this” and
because Plaintiffs have “no experience in contracting for a home improvement loan and [are]
entirely inexperienced and unsophisticated in matters involving consumer lending.” (Pl.’s Resp.
to Mot, to Compel Arbitration, at 3). The Court, however, is unpersuaded by Plaintiffs’
argument

Tennessee courts analyzed unconscionability in Howell v. NHC Heaithcare-Fort Sanders,
Inc., 109 S.W.3d 731, 733 (Tenn. Ct. App. 2003) and Buraczynski v. Eyrz'ng, 919 S.W.2d 314,
320 (Tenn 1996). ln Howell, an Executor of a deceased nursing home resident sued the nursing
horne for abuse and neglect. The defendants insisted that the admitting agreement, signed by the
deceased’s husband, was enforceable and required that the plaintiffs claims be handled by
mediation and arbitration Mr. Howell was unable to read or write, and the nursing horne
representative chose to explain the agreement to him, rather than have Mr. Howell read the
agreement and attempt to understand it for himself While the nursing home representative said
she explained mediation and arbitration, she did not explain to l\/lr. Howell that he was giving up
his right to a jury trial. Mr. Howell was also required to sign the agreement if his wife was to be
allowed to enter the nursing home.

The Buraczynski case involved a medical malpractice action between a patient and her
doctor. Beverly Buraczynski received a total right knee replacement in September 1990, and
some two months after the surgery, her doctor asked her to sign a “Physician-Patient Arbitration

Agreement” that was “effective as of the date of first medical services.” Buraczynskr`, 919

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S.W.2d at 316. The doctor refused to continue to treat Ms. Buraczynski if she did not sign the
agreement Shortly after signing the agreement Ms. Buraczynski began to experience problems
with her knee. She sued to recover damages

This case can be distinguished from Howell and Buraczynski. Mr. Howell was elderly
and unable to read or write, and Ms. Buraczynski was a patient suffering from a knee
replacement ln this matter, Plaintiffs are not illiterate. Moreover, unlike the two Tennessee
cases, the terms of the Arbitration Rider are not buried within the document Instead, the terms
are clearly typed in a conspicuous font, and Plaintiffs were required to sign directly below the
names of a listing of potential arbitrators Moreover, the terms of the Arbitration Rider are not
overly complex. F or example, the Rider states that “The parties acknowledge that they had a
right to litigate claims through a court before a judge or jury, but will not have that right if either
party elects arbitration” (Mot. to Compel Arbitration, at 2). This sentence is easy to understand
and clearly states that a party will not have a right to a jury trial if arbitration is selected.
Experience in home improvement loan contracts is not needed to understand Plaintiffs were
potentially waiving their right to jury trial. For these reasons, the Agreement is not
unconscionable

B. Overly Broad

Next, Plaintiffs argue that the Arbitration Rider is overly broad. The Arbitration Rider
provides that any claim, dispute, or controversy, including initial claims, counter-claims, or third
party claims, may be submitted to arbitration This language is customary for arbitration
provisions, and the Court finds nothing out of the ordinary in the Agreement. As noted by the
Tennessee Court of Appeals, “[u]nless a contract containing the arbitration clause is otherwise

revocable upon grounds of existing law or in equity, such as fraud or unconscionaility, the terms

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oft/re arbitration provision are binding on the parries.” T.R. Miils Coniractors, Inc. v. WRH
Enierprises, LLC, 93 S.W.3d 861, 866 (Tenn. Ct. App. 2002) (emphasis added).

Under Tennessee law, a party is obligated to be bound by the terms of an agreement he or
she signs. lf a person “fails to read the contract or otherwise learn its contents, he signs the same
at his peril and is estopped to deny his obligations, will be conclusively presumed to know the
contents of the contract, and must suffer the consequences of his own negligence.” Giles v.
Ailstate Ins. Co., 871 S.W.2d 154, 156 (Term. Ct. App. 1993) (citing Beasley v. Metropoliian
Life Ins. Co., 229 S.W.2d 146, 148 (Tenn. 1950)). Plaintiffs cite no authority to support their
claim that the Arbitration Rider is overly broad, and the Court finds this argument to be Without
merit

C. Homecomings’ Standing

Plaintiffs also argue that Homecomings cannot enforce the Arbitration Rider because they
are not the lender or an assignee of the lender. Plaintiffs offer no case authority to show a non-
signatory cannot enforce an arbitration agreement By contrast, Homecomings has identified
cases which held that non-signatories do have standing to enforce an arbitration agreement

In the Sixth Circuit, “nonsignatories of arbitration agreements” can enforce arbitration
agreements “under ordinary contract and agency principles.” Arnola' v. Arnoid Corp., 920 F.2d
1269, 1281 (6th Cir. 1990). ln Arnold, the owner of a corporation entered into a stock purchase
agreement with a larger corporation for the sale of his personal shares of company stock in
exchange for a large sum of money. Af’ter Mr. Arnold sold his stock to the company, the Board
of Directors entered into several deals that earned each director a large sum of money, Because

he had sold all of his shares, Mr. Amold did not profit from the directors’ actions, so he sued the

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company and the directors alleging violations of the Securities Exchange Act and the Ohio
Securities Act. See id. at 1271~72.

The stock purchase agreement contained an arbitration provision, and while there was
little doubt that Mr. Arnold would be required to arbitrate with the company, there was some
confusion as to whether the directors, as non-signators to the agreement would also be required
to arbitrate with Mr. Amold. Ultimately, the court held that because “the nonsignatory
defendants are alleged to have committed acts related to their running of the corporation,” the
directors would also be required to arbitrate. Id. at 1282. The court found it critical that “[a]ll of
these alleged wrongful acts relate to the nonsignatory defendants’ behavior as officers and
directors or in their capacities as agents of the Arnold Corporation.” Id.

In this case, the Arbitration Rider applies to the lender or any assignee, and
Homecomings was delegated the duty of servicing the loan agreement on behalf of the current
assignees. The Court concludes that Homecomings’ actions under the Agreement relate to the
actions of the signatory defendants Moreover, Homecomings has been sued under the terms of
the Agreement, which applies to the lender and its assignees, and Plaintiffs have asserted the
same claims against Homecomings as they have against the signatory defendants For these
reasons, the court concludes that Homecomings should be entitled to enforce the Arbitration
Rider.

D. Sigging the Original Ag;eement

Plaintiffs finally argue that because the original lender did not sign the Arbitration Rider,
the Arbitration Rider is not enforceable However, an arbitration clause does not need to be
signed by both parties to be enforceable T.R. Milis, 93 S.W.3d at 869 (noting that in Tennessee,

an arbitration provision does not need to be signed by the parties to be binding). Instead, so long

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as the actions of the parties indicate an intention to be bound by the terms of the Agreement, the
Court should recognize the existence of a contract See Bob Pearsall Motors, Inc. v. Regal
Chij)sler-P!ymouth, Inc., 521 S.W.2d 578, 580 (Tenn. 1975) (citations omitted) (noting that the
cardinal rule for interpreting a contract is to determine the intention of the parties and to give
effect to that intention).

In this case the signatory defendant did not sign the actual Arbitration Rider. However,
as the party to be bound, the Plaintiffs signed their name to the Arbitration Rider. Moreover, the
Court concludes that the Plaintiffs signed their names to the Agreement intending to make a
binding agreement between themselves and the signatory defendant. Therefore, even though the
signatory defendant did not sign the Agreement, Bob Pearsail Motors instructs the Court to give
effect to the intention of the parties Therefore, the Court concludes the Arbitration Rider is
enforceable

II. The dispute in this case falls Withill the scope of the Agreement.

Because the arbitration provision is valid, the Court must determine if the dispute falls
within the scope of the Agreement. As noted above, the Agreemth states that “any claim,
dispute, or controversy, . . . including initial claims, counter-claims, or third party claims, arising
from or relating to this Agreemth or the relationships which result from this Agreement” may be
submitted to arbitration by the lender or any assignee The Court has already determined that
Homecomings can enforce the terms of the Arbitration Rider. Ttherefore, the Court must only
determine if Plaintiffs’ claims are within the scope of the Agreement.

In this matter Plaintiffs have asserted various causes of actions against Defendants,
including (l) charges wrongfully charged to Plaintiffs at the loan closing, (2) misrepresentations

in the Agreement, (3) inflated appraisal values and false representations about the market value

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of the property, (4) and discriminatory lending practices After due consideration, the Court
concludes that all of Plaintiffs’ claims come under the scope of the Arbitration Rider. Plaintiffs’
claims should be settled in accordance With the terms of the Agreement’s Arbitration Rider.
CONCLUSION

Because the Arbitration Rider is valid and because Plaintiffs’ alleged claims against
Homecomings are within the scope of the Arbitration Rider, Homecomings’ Motion to Compel
Arbitration is GRANTED. Pursuant to the Order of Reference, any objections to this Order shall
be made in writing within ten days after service of this Order and shall set forth with particularity

those portions of the Order objected to and the reasons for those objections

;él@m dallas

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

 

Date: M)i"-; &I: 2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02575 was distributed by fax, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

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